   DE WELL
       CaseCONTAINER      SHIPPING,INC.
            2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 1 of 10 Page ID #:10
(2) SHIPPER/EXPORTER (COMPLETE NAME AND ADDRESS)
ARISING ASIA LIMITED EQUIPMENT CO., LTD.
ADD:ROOMS 1318-19 13/F HOLLYWOOD PLAZA, 610 NATHAN ROAD,
MONGKOK,KOWLOON,HONG KONG.
                                                                                                   INTERNATIONAL BILL OF LADING
                                                                                                   NOT NEGOTIABLE UNLESS CONSIGNED "TO ORDER"
                                                                                                   (SPACES IMMEDIATELY DELOW FOR SHIPPER'S MEMORANDA).


(3) CONSIGNEE (COMPLETE NAME AND ADDRESS)                                                          (5) BOOKING NO.                           (5A) HOUSE BILL OF LADING
NAOMI HOME                                                                                         1811X022PE09443P1                         SXMNS0010051
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES                                                                     (6) MASTER BILL OF LADING                 (6A) EXPORT REFERENCES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                   MEDUX4115218

(4) NOTIFY PARTY (COMPLETE NAME AND ADDRESS)                                                       (7) FORWARDING AGENT .F.M.C.NO.
NAOMI HOME
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM                                                                           (8) POINT AND COUNTRY OF ORIGIN

(12)PRE-CARRIAGE                                 (13) PLACE OF INITIAL RECEIPT*                    (9) ALSO NOTIFY-ROUTING & INSTRUCTIONS
                                                 XIAMEN, CHINA
(14) VESSEL VOY FLAG                             (15) PORT OF LOADING
MAERSK ESSEX / 246N                              XIAMEN ,CHINA                                     ,,

(16) PORT OF DISCHARGE                           (17) PORT OF DELIVERY BY ON-CARRIER*
LOS ANGELES, CA, US                              LOS ANGELES ,CA, US

                                                             PARTICULARS FURNISHED BY SHIPPER
        MKS & NOS/CONTAINER NOS                        NO. OF PKGS.         HM** DESCRIPTION OF PACKAGES AND GOODS                     GROSS WEIGHT                MEASUREMENT
                      (18)                                  (19)                             (20)                                         (21)                         (22)
N/M                                                225                           SHIPPER LOAD, COUNT AND SEAL                     6750.000                        66.380
                                                   Carton(s)                FUTON SOFA                                            KG                              M3
   1 x 40HC                                                                 THE SHIPMENT CONTAINS NO SOLID WOOD
FREIGHT COLLECT                                                             PACKING MATERIALS
CY/CY
SAY TWO HUNDRED AND TWENTY
FIVE CARTON(S) ONLY.                                                        DE WELL CONTAINER SHIPPING INC.
                                                                            5553 BANDINI BLVD UNIT A
                                                                            BELL CA 90201 UNITED STATES
                                                                            Tel:+1 310-735-8600 Fax:+1 310-735-8601
                                                                            Email:DOC@DE-WELL.COM




              CNTR#                                    Seal#                               PKGS                      WEIGHT                                    CBM
         FSCU6621030 / 40HC                          FJ15778161                           225CTN                    6750.000KG                               66.380M3
(23) Declared Value $                            if Shipper enters a value, carriers "package"      RATE OF EXCHANGE                    (24) FREIGHT PAYABLE AT/BY
limitation of liability does not apply and the ad valorem rete will be charged

  ITEM NO           RATED AS          PER      RATE       OREOAUD COLLECT                LOCAL CURRENCY             if this box is checked, goods have been loaded,sto-wed and
                                                                                                            counted by Shipper Carrier has NOT done so and is not responsible
                                                                                                            for accuracy of count,conditions or nature of goods described in
                                                                                                            PARTICULARS FURNISHED BY SHIPPER.


                                                                                                            THE RECEIPT, CUSTODY, CARRIER AND DELIVERY OF THE
                                                                                                            GOODS ARE SUBJECT TO THE TERMS APPEARING ON THE
                                                                                                            FACE AND BACK HEREOF AND TO CARRIERS APPLICABLE
                                                                                                            TARIFF

                                                                                                            In withess where of three (3) original bill of lading all the same tenor and
                                                                                                            date one of which being accompisthed the orders to stand void, have
                           TOTAL CHARGES                                                                    been issued by De well or its designated agent on behalf of itself. other
                                                                                                            participating camer, the vessel, her master and Owaers or charterers
No.of Original B(s)/L: ONE                              DATE          24 Nov 2022
Original Bill - Surrendered at Origin
 * APPLICABLE ONLY WHEN USED FOR MULTIMODAL OR THROUGH TRANSPORTATION                                       AT XIAMEN ,CHINA 24 Nov 2022
** INDICATE WHETHER ANY OF THE CARGO IS HAZARDOUS MATERIAL UNDER DOT.IMCO
   OR OTHER REGULATIONS AND INDICATE CORRECT COMMODITY NUMBER IN BOX20.
                                                                                                            BY
                                                                                                            FOR DE WELL CONTAINER SHIPPING, INC."AS CARRIER"



                                                                                                                                                               Complaint

                                                                                                                                                                Ex. A
Case 2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 2 of 10 Page ID #:11
   DE WELL
       CaseCONTAINER      SHIPPING,INC.
            2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 3 of 10 Page ID #:12
(2) SHIPPER/EXPORTER (COMPLETE NAME AND ADDRESS)
GUANGZHOU BAIYUN DISTRICT BO YI DECORATIVE PAINTING FACTORY
NO.5 DONGYUAN STREET, DONGPING DONG FENG XI ROAD, YONGPING
STREET, BAIYUN DISTRICT, GUANGZHOU CHINA
                                                                                                    INTERNATIONAL BILL OF LADING
                                                                                                    NOT NEGOTIABLE UNLESS CONSIGNED "TO ORDER"
                                                                                                    (SPACES IMMEDIATELY DELOW FOR SHIPPER'S MEMORANDA).


(3) CONSIGNEE (COMPLETE NAME AND ADDRESS)                                                           (5) BOOKING NO.                             (5A) HOUSE BILL OF LADING
NAOMI HOME                                                                                          025C795552                                  SSNZS0040916
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES                                                                      (6) MASTER BILL OF LADING                   (6A) EXPORT REFERENCES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                    025C795552

(4) NOTIFY PARTY (COMPLETE NAME AND ADDRESS)                                                        (7) FORWARDING AGENT .F.M.C.NO.
NAOMI HOME
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                    (8) POINT AND COUNTRY OF ORIGIN

(12)PRE-CARRIAGE                                 (13) PLACE OF INITIAL RECEIPT*                     (9) ALSO NOTIFY-ROUTING & INSTRUCTIONS
                                                 SHEKOU, CHINA
(14) VESSEL VOY FLAG                             (15) PORT OF LOADING
WAN HAI A07 / E001                               SHEKOU ,CHINA
(16) PORT OF DISCHARGE                           (17) PORT OF DELIVERY BY ON-CARRIER*
LONG BEACH, CA, US                               EL MONTE,CA,91731

                                                             PARTICULARS FURNISHED BY SHIPPER
        MKS & NOS/CONTAINER NOS                        NO. OF PKGS.         HM** DESCRIPTION OF PACKAGES AND GOODS                        GROSS WEIGHT                MEASUREMENT
                      (18)                                  (19)                                    (20)                                     (21)                         (22)
N/M                                                460                                   SHIPPER LOAD, COUNT AND SEAL                12440.000                       66.700
  1 x 40HC                                         Carton(s)                MIRRORS                                                  KG                              M3
FREIGHT COLLECT
CY/DOOR                                                                     THIS SHIPMENT CONTAINS NO SOLID WOOD WHSU6872630/WHLJ632197
SAY FOUR HUNDRED AND SIXTY                                                  PACKING MATERIALS
CARTON(S) ONLY.


                                                                            DE WELL CONTAINER SHIPPING INC.
                                                                            5553 BANDINI BLVD UNIT A
                                                                            BELL CA 90201 UNITED STATES
                                                                            Tel:+1 310-735-8600 Fax:+1 310-735-8601
                                                                            Email:DOC@DE-WELL.COM




(23) Declared Value $                            if Shipper enters a value, carriers "package"       RATE OF EXCHANGE                      (24) FREIGHT PAYABLE AT/BY
limitation of liability does not apply and the ad valorem rete will be charged

  ITEM NO           RATED AS          PER      RATE       OREOAUD COLLECT                LOCAL CURRENCY                if this box is checked, goods have been loaded,sto-wed and
                                                                                                               counted by Shipper Carrier has NOT done so and is not responsible
                                                                                                               for accuracy of count,conditions or nature of goods described in
                                                                                                               PARTICULARS FURNISHED BY SHIPPER.


                                                                                                               THE RECEIPT, CUSTODY, CARRIER AND DELIVERY OF THE
                                                                                                               GOODS ARE SUBJECT TO THE TERMS APPEARING ON THE
                                                                                                               FACE AND BACK HEREOF AND TO CARRIERS APPLICABLE
                                                                                                               TARIFF

                                                                                                               In withess where of three (3) original bill of lading all the same tenor and
                                                                                                               date one of which being accompisthed the orders to stand void, have
                           TOTAL CHARGES                                                                       been issued by De well or its designated agent on behalf of itself. other
                                                                                                               participating camer, the vessel, her master and Owaers or charterers
No.of Original B(s)/L: ONE                              DATE          06 Nov 2022
Original Bill - Surrendered at Origin
 * APPLICABLE ONLY WHEN USED FOR MULTIMODAL OR THROUGH TRANSPORTATION                                          AT SHEKOU ,CHINA 06 Nov 2022
** INDICATE WHETHER ANY OF THE CARGO IS HAZARDOUS MATERIAL UNDER DOT.IMCO
   OR OTHER REGULATIONS AND INDICATE CORRECT COMMODITY NUMBER IN BOX20.
                                                                                                               BY
                                                                                                               FOR DE WELL CONTAINER SHIPPING, INC."AS CARRIER"
   DE WELL
       CaseCONTAINER      SHIPPING,INC.
            2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 4 of 10 Page ID #:13
(2) SHIPPER/EXPORTER (COMPLETE NAME AND ADDRESS)
XIAMEN LAIYANG IMPORT AND EXPORT CO.,LTD.
UNIT B5-1,FLOOR 6,XIANGYU BUILDING,
NUMBER 22, XIANGXING ROAD 4,
MODERN LOGISTICS PARK (BONDED AREA), XIAMEN                                                        INTERNATIONAL BILL OF LADING
                                                                                                   NOT NEGOTIABLE UNLESS CONSIGNED "TO ORDER"
                                                                                                   (SPACES IMMEDIATELY DELOW FOR SHIPPER'S MEMORANDA).


(3) CONSIGNEE (COMPLETE NAME AND ADDRESS)                                                          (5) BOOKING NO.                           (5A) HOUSE BILL OF LADING
NAOMI HOME                                                                                         1811X022PE09380P1                         SXMNS0010050
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES                                                                     (6) MASTER BILL OF LADING                 (6A) EXPORT REFERENCES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                   MEDUX4106258

(4) NOTIFY PARTY (COMPLETE NAME AND ADDRESS)                                                       (7) FORWARDING AGENT .F.M.C.NO.
NAOMI HOME
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM                                                                           (8) POINT AND COUNTRY OF ORIGIN

(12)PRE-CARRIAGE                                 (13) PLACE OF INITIAL RECEIPT*                    (9) ALSO NOTIFY-ROUTING & INSTRUCTIONS
                                                 XIAMEN, CHINA
(14) VESSEL VOY FLAG                             (15) PORT OF LOADING
MAERSK ESSEX / 246N                              XIAMEN ,CHINA                                     ,,

(16) PORT OF DISCHARGE                           (17) PORT OF DELIVERY BY ON-CARRIER*
LOS ANGELES, CA, US                              LOS ANGELES ,CA, US

                                                             PARTICULARS FURNISHED BY SHIPPER
        MKS & NOS/CONTAINER NOS                        NO. OF PKGS.         HM** DESCRIPTION OF PACKAGES AND GOODS                     GROSS WEIGHT                MEASUREMENT
                      (18)                                  (19)                               (20)                                       (21)                         (22)
N/M                                                110                             SHIPPER LOAD, COUNT AND SEAL                   4598.000                        63.800
                                                   Package(s)               SOFA                                                  KG                              M3
                                                                            THE SHIPMENT CONTAINS NO SOLID WOOD
  1 x 40HC                                                                  PACKING MATERIALS
FREIGHT COLLECT
CY/CY
SAY ONE HUNDRED AND TEN
PACKAGE(S) ONLY.                                                            DE WELL CONTAINER SHIPPING INC.
                                                                            5553 BANDINI BLVD UNIT A
                                                                            BELL CA 90201 UNITED STATES
                                                                            Tel:+1 310-735-8600 Fax:+1 310-735-8601
                                                                            Email:DOC@DE-WELL.COM




              CNTR#                                     Seal#                              PKGS                      WEIGHT                                    CBM
         GLDU7208342 / 40HC                          FJ15777214                           110PKG                    4598.000KG                               63.800M3
(23) Declared Value $                            if Shipper enters a value, carriers "package"      RATE OF EXCHANGE                    (24) FREIGHT PAYABLE AT/BY
limitation of liability does not apply and the ad valorem rete will be charged

  ITEM NO           RATED AS          PER      RATE       OREOAUD COLLECT                LOCAL CURRENCY             if this box is checked, goods have been loaded,sto-wed and
                                                                                                            counted by Shipper Carrier has NOT done so and is not responsible
                                                                                                            for accuracy of count,conditions or nature of goods described in
                                                                                                            PARTICULARS FURNISHED BY SHIPPER.


                                                                                                            THE RECEIPT, CUSTODY, CARRIER AND DELIVERY OF THE
                                                                                                            GOODS ARE SUBJECT TO THE TERMS APPEARING ON THE
                                                                                                            FACE AND BACK HEREOF AND TO CARRIERS APPLICABLE
                                                                                                            TARIFF

                                                                                                            In withess where of three (3) original bill of lading all the same tenor and
                                                                                                            date one of which being accompisthed the orders to stand void, have
                           TOTAL CHARGES                                                                    been issued by De well or its designated agent on behalf of itself. other
                                                                                                            participating camer, the vessel, her master and Owaers or charterers
No.of Original B(s)/L: ONE                              DATE          24 Nov 2022
Original Bill - Surrendered at Origin
 * APPLICABLE ONLY WHEN USED FOR MULTIMODAL OR THROUGH TRANSPORTATION                                       AT XIAMEN ,CHINA 24 Nov 2022
** INDICATE WHETHER ANY OF THE CARGO IS HAZARDOUS MATERIAL UNDER DOT.IMCO
   OR OTHER REGULATIONS AND INDICATE CORRECT COMMODITY NUMBER IN BOX20.
                                                                                                            BY
                                                                                                            FOR DE WELL CONTAINER SHIPPING, INC."AS CARRIER"
Case 2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 5 of 10 Page ID #:14
   DE WELL
       CaseCONTAINER      SHIPPING,INC.
            2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 6 of 10 Page ID #:15
(2) SHIPPER/EXPORTER (COMPLETE NAME AND ADDRESS)
ZHONGSHAN SUNSHINE ELECTRICAL APPLIANCE TECH CO.,LTD.
NO. 2, YONGYI ROAD 3, YONGXING INDUSTRIAL AREA, HENGLAN
TOWN, ZHONGSHAN, GUANGDONG, 528478, CHINA
                                                                                                    INTERNATIONAL BILL OF LADING
                                                                                                    NOT NEGOTIABLE UNLESS CONSIGNED "TO ORDER"
                                                                                                    (SPACES IMMEDIATELY DELOW FOR SHIPPER'S MEMORANDA).


(3) CONSIGNEE (COMPLETE NAME AND ADDRESS)                                                           (5) BOOKING NO.                             (5A) HOUSE BILL OF LADING
NAOMI HOME                                                                                          025C785586                                  SSNZS0040917
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES                                                                      (6) MASTER BILL OF LADING                   (6A) EXPORT REFERENCES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                    025C785586

(4) NOTIFY PARTY (COMPLETE NAME AND ADDRESS)                                                        (7) FORWARDING AGENT .F.M.C.NO.
NAOMI HOME
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                    (8) POINT AND COUNTRY OF ORIGIN

(12)PRE-CARRIAGE                                 (13) PLACE OF INITIAL RECEIPT*                     (9) ALSO NOTIFY-ROUTING & INSTRUCTIONS
                                                 SHEKOU, CHINA
(14) VESSEL VOY FLAG                             (15) PORT OF LOADING
WAN HAI A07 / E001                               SHEKOU ,CHINA
(16) PORT OF DISCHARGE                           (17) PORT OF DELIVERY BY ON-CARRIER*
LONG BEACH, CA, US                               EL MONTE,CA,91731

                                                             PARTICULARS FURNISHED BY SHIPPER
        MKS & NOS/CONTAINER NOS                        NO. OF PKGS.         HM** DESCRIPTION OF PACKAGES AND GOODS                        GROSS WEIGHT                MEASUREMENT
                      (18)                                  (19)                                    (20)                                         (21)                        (22)
N/M                                                460                                   SHIPPER LOAD, COUNT AND SEAL                12558                           68.4
  1 x 40HC                                         Carton(s)                ELECTRIC FIREPLACE                                       KG                              M3
FREIGHT COLLECT
CY/DOOR                                                                     THIS SHIPMENT CONTAINS NO SOLID WOOD WHSU6598895/WHLP353464
SAY FOUR HUNDRED AND SIXTY                                                  PACKING MATERIALS
CARTON(S) ONLY.
                                                                            DE WELL CONTAINER SHIPPING INC.
                                                                            5553 BANDINI BLVD UNIT A
                                                                            BELL CA 90201 UNITED STATES
                                                                            Tel:+1 310-735-8600 Fax:+1 310-735-8601
                                                                            Email:DOC@DE-WELL.COM




(23) Declared Value $                            if Shipper enters a value, carriers "package"       RATE OF EXCHANGE                      (24) FREIGHT PAYABLE AT/BY
limitation of liability does not apply and the ad valorem rete will be charged

  ITEM NO           RATED AS          PER      RATE       OREOAUD COLLECT                LOCAL CURRENCY                if this box is checked, goods have been loaded,sto-wed and
                                                                                                               counted by Shipper Carrier has NOT done so and is not responsible
                                                                                                               for accuracy of count,conditions or nature of goods described in
                                                                                                               PARTICULARS FURNISHED BY SHIPPER.


                                                                                                               THE RECEIPT, CUSTODY, CARRIER AND DELIVERY OF THE
                                                                                                               GOODS ARE SUBJECT TO THE TERMS APPEARING ON THE
                                                                                                               FACE AND BACK HEREOF AND TO CARRIERS APPLICABLE
                                                                                                               TARIFF

                                                                                                               In withess where of three (3) original bill of lading all the same tenor and
                                                                                                               date one of which being accompisthed the orders to stand void, have
                           TOTAL CHARGES                                                                       been issued by De well or its designated agent on behalf of itself. other
                                                                                                               participating camer, the vessel, her master and Owaers or charterers
No.of Original B(s)/L: ONE                              DATE          07 Nov 2022
Original Bill - Surrendered at Origin
 * APPLICABLE ONLY WHEN USED FOR MULTIMODAL OR THROUGH TRANSPORTATION                                          AT SHEKOU ,CHINA 07 Nov 2022
** INDICATE WHETHER ANY OF THE CARGO IS HAZARDOUS MATERIAL UNDER DOT.IMCO
   OR OTHER REGULATIONS AND INDICATE CORRECT COMMODITY NUMBER IN BOX20.
                                                                                                               BY
                                                                                                               FOR DE WELL CONTAINER SHIPPING, INC."AS CARRIER"
   DE WELL
       CaseCONTAINER      SHIPPING,INC.
            2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 7 of 10 Page ID #:16
(2) SHIPPER/EXPORTER (COMPLETE NAME AND ADDRESS)
ARISING ASIA LIMITED EQUIPMENT CO., LTD.
ADD:ROOMS 1318-19 13/F HOLLYWOOD PLAZA, 610 NATHAN ROAD,
MONGKOK,KOWLOON,HONG KONG.
                                                                                                   INTERNATIONAL BILL OF LADING
                                                                                                   NOT NEGOTIABLE UNLESS CONSIGNED "TO ORDER"
                                                                                                   (SPACES IMMEDIATELY DELOW FOR SHIPPER'S MEMORANDA).


(3) CONSIGNEE (COMPLETE NAME AND ADDRESS)                                                          (5) BOOKING NO.                           (5A) HOUSE BILL OF LADING
NAOMI HOME                                                                                         1811X022PE09442P1                         SXMNS0010236
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES                                                                     (6) MASTER BILL OF LADING                 (6A) EXPORT REFERENCES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                   MEDUX4115200

(4) NOTIFY PARTY (COMPLETE NAME AND ADDRESS)                                                       (7) FORWARDING AGENT .F.M.C.NO.
NAOMI HOME
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM                                                                           (8) POINT AND COUNTRY OF ORIGIN

(12)PRE-CARRIAGE                                 (13) PLACE OF INITIAL RECEIPT*                    (9) ALSO NOTIFY-ROUTING & INSTRUCTIONS
                                                 XIAMEN, CHINA
(14) VESSEL VOY FLAG                             (15) PORT OF LOADING
MAERSK ESSEX / 246N                              XIAMEN ,CHINA                                     ,,

(16) PORT OF DISCHARGE                           (17) PORT OF DELIVERY BY ON-CARRIER*
LOS ANGELES, CA, US                              LOS ANGELES ,CA, US

                                                             PARTICULARS FURNISHED BY SHIPPER
        MKS & NOS/CONTAINER NOS                        NO. OF PKGS.         HM** DESCRIPTION OF PACKAGES AND GOODS                     GROSS WEIGHT                MEASUREMENT
                      (18)                                  (19)                             (20)                                             (21)                     (22)
N/M                                                548                           SHIPPER LOAD, COUNT AND SEAL                     12906                           128.23
                                                   Carton(s)                FUTON SOFA                                            KG                              M3
   2 x 40HC                                                                 THE SHIPMENT CONTAINS NO SOLID WOOD
FREIGHT COLLECT                                                             PACKING MATERIALS
CY/CY
SAY FIVE HUNDRED AND FORTY
EIGHT CARTON(S) ONLY.                                                       DE WELL CONTAINER SHIPPING INC.
                                                                            5553 BANDINI BLVD UNIT A
                                                                            BELL CA 90201 UNITED STATES
                                                                            Tel:+1 310-735-8600 Fax:+1 310-735-8601
                                                                            Email:DOC@DE-WELL.COM




             CNTR#                                      Seal#                              PKGS                      WEIGHT                                    CBM
        MSMU5351302 / 40HC                           FJ16191236                           352CTN                    6928.000KG                               61.000M3
        FSCU8375189 / 40HC                           FJ16191332                           196CTN                    5978.000KG                               67.23M3
(23) Declared Value $                            if Shipper enters a value, carriers "package"      RATE OF EXCHANGE                    (24) FREIGHT PAYABLE AT/BY
limitation of liability does not apply and the ad valorem rete will be charged

  ITEM NO           RATED AS          PER      RATE       OREOAUD COLLECT                LOCAL CURRENCY             if this box is checked, goods have been loaded,sto-wed and
                                                                                                            counted by Shipper Carrier has NOT done so and is not responsible
                                                                                                            for accuracy of count,conditions or nature of goods described in
                                                                                                            PARTICULARS FURNISHED BY SHIPPER.


                                                                                                            THE RECEIPT, CUSTODY, CARRIER AND DELIVERY OF THE
                                                                                                            GOODS ARE SUBJECT TO THE TERMS APPEARING ON THE
                                                                                                            FACE AND BACK HEREOF AND TO CARRIERS APPLICABLE
                                                                                                            TARIFF

                                                                                                            In withess where of three (3) original bill of lading all the same tenor and
                                                                                                            date one of which being accompisthed the orders to stand void, have
                           TOTAL CHARGES                                                                    been issued by De well or its designated agent on behalf of itself. other
                                                                                                            participating camer, the vessel, her master and Owaers or charterers
No.of Original B(s)/L: ONE                              DATE          24 Nov 2022
Original Bill - Surrendered at Origin
 * APPLICABLE ONLY WHEN USED FOR MULTIMODAL OR THROUGH TRANSPORTATION                                       AT XIAMEN ,CHINA 24 Nov 2022
** INDICATE WHETHER ANY OF THE CARGO IS HAZARDOUS MATERIAL UNDER DOT.IMCO
   OR OTHER REGULATIONS AND INDICATE CORRECT COMMODITY NUMBER IN BOX20.
                                                                                                            BY
                                                                                                            FOR DE WELL CONTAINER SHIPPING, INC."AS CARRIER"
Case 2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 8 of 10 Page ID #:17
   DE WELL
       CaseCONTAINER      SHIPPING,INC.
            2:23-cv-00106 Document 1-1 Filed 01/08/23 Page 9 of 10 Page ID #:18
(2) SHIPPER/EXPORTER (COMPLETE NAME AND ADDRESS)
EVER GLORY (XIAMEN) IMP & EXP CO.,LTD.
1/F-2,NO.5 ZHENAN VILLAGE,XIAMEN AREA OF
CHINA(FUJIAN)PILOT FREE TRADE ZONE
                                                                                                    INTERNATIONAL BILL OF LADING
                                                                                                    NOT NEGOTIABLE UNLESS CONSIGNED "TO ORDER"
                                                                                                    (SPACES IMMEDIATELY DELOW FOR SHIPPER'S MEMORANDA).


(3) CONSIGNEE (COMPLETE NAME AND ADDRESS)                                                           (5) BOOKING NO.                           (5A) HOUSE BILL OF LADING
NAOMI HOME                                                                                                                                    SFOCS0002350
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES                                                                      (6) MASTER BILL OF LADING                 (6A) EXPORT REFERENCES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM
                                                                                                    028C507246

(4) NOTIFY PARTY (COMPLETE NAME AND ADDRESS)                                                        (7) FORWARDING AGENT .F.M.C.NO.
NAOMI HOME
3076 N COMMERCE PKWY
MIRAMAR FL 33025 UNITED STATES
954-519-2555
NAOMIHOME@OJCOMMERCE.COM                                                                            (8) POINT AND COUNTRY OF ORIGIN

(12)PRE-CARRIAGE                                 (13) PLACE OF INITIAL RECEIPT*                     (9) ALSO NOTIFY-ROUTING & INSTRUCTIONS
                                                 FUZHOU, CHINA
(14) VESSEL VOY              FLAG                (15) PORT OF LOADING
ZE YUAN / C173                                   FUZHOU ,CHINA                                      ,,

(16) PORT OF DISCHARGE                           (17) PORT OF DELIVERY BY ON-CARRIER*
LONG BEACH, CA, US                               EL MONTE,CA,91731 US

                                                             PARTICULARS FURNISHED BY SHIPPER
        MKS & NOS/CONTAINER NOS                        NO. OF PKGS.         HM** DESCRIPTION OF PACKAGES AND GOODS                      GROSS WEIGHT                MEASUREMENT
                      (18)                                  (19)                             (20)                                              (21)                     (22)
N/M                                                2807                          SHIPPER LOAD, COUNT AND SEAL                      81684                           231.09
                                                   Carton(s)                CARLY OFFICE CABINET                                   KG                              M3
  4 x 40HC                                                                  PARKER 5 DRAWER CABINET
FREIGHT PREPAID                                                             ELANI DESK
CY/DOOR                                                                     ELSY DESK
SAY TWO THOUSAND, EIGHT
HUNDRED AND SEVEN CARTON(S)                                                 PO#8803590638/8848652771/8813938952/88062
ONLY.                                                                       57561

                                                                            THIS SHIPMENT CONTAINS NO SOLID WOOD
                                                                            PACKING MATERIAL


                                                                            DE WELL CONTAINER SHIPPING INC.
                                                                            5553 BANDINI BLVD UNIT A
                                                                            BELL CA 90201 UNITED STATES
                                                                            Tel:+1 310-735-8600 Fax:+1 310-735-8601
                                                                            Email:DOC@DE-WELL.COM




             CNTR#                                    Seal#                                PKGS                        WEIGHT                                   CBM
        WHSU5838796 / 40HC                          WHLM740915                            1200CTN                      20760KG                                56.81M3
        FBLU0221540 / 40HC                          WHLM740916                            746CTN                       20888KG                                60.49M3
        UETU5851068 / 40HC                          WHLM740917                            430CTN                       20210KG                                56.83M3
        WHSU5223430 / 40HC                          WHLM740918                            431CTN                       19826KG                                56.96M3
(23) Declared Value $                            if Shipper enters a value, carriers "package"       RATE OF EXCHANGE                    (24) FREIGHT PAYABLE AT/BY
limitation of liability does not apply and the ad valorem rete will be charged

  ITEM NO           RATED AS          PER      RATE       OREOAUD COLLECT                LOCAL CURRENCY              if this box is checked, goods have been loaded,sto-wed and
                                                                                                             counted by Shipper Carrier has NOT done so and is not responsible
                                                                                                             for accuracy of count,conditions or nature of goods described in
                                                                                                             PARTICULARS FURNISHED BY SHIPPER.


                                                                                                             THE RECEIPT, CUSTODY, CARRIER AND DELIVERY OF THE
                                                                                                             GOODS ARE SUBJECT TO THE TERMS APPEARING ON THE
                                                                                                             FACE AND BACK HEREOF AND TO CARRIERS APPLICABLE
                                                                                                             TARIFF

                                                                                                             In withess where of three (3) original bill of lading all the same tenor and
                                                                                                             date one of which being accompisthed the orders to stand void, have
                           TOTAL CHARGES                                                                     been issued by De well or its designated agent on behalf of itself. other
                                                                                                             participating camer, the vessel, her master and Owaers or charterers
No.of Original B(s)/L: ONE                              DATE          29 Oct 2022
Express Bill of Lading
 * APPLICABLE ONLY WHEN USED FOR MULTIMODAL OR THROUGH TRANSPORTATION                                        AT FUZHOU ,CHINA 29 Oct 2022
** INDICATE WHETHER ANY OF THE CARGO IS HAZARDOUS MATERIAL UNDER DOT.IMCO
   OR OTHER REGULATIONS AND INDICATE CORRECT COMMODITY NUMBER IN BOX20.
                                                                                                             BY
                                                                                                             FOR DE WELL CONTAINER SHIPPING, INC."AS CARRIER"
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